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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION

 The Michelin Retirement Plan, et al.,          )
                                                )
                        Plaintiffs,             )
        v.                                      )
                                                )   Case No. 6:16-cv-03604-DCC-JDA
 Dilworth Paxson, LLP, et al.,                  )
                                                )
                        Defendants.             )

             STATUS REPORT OF DEFENDANT GREENBERG TRAURIG, LLP
       Defendant Greenberg Traurig, LLP (“Greenberg”) is unaware of any material changes in
the status of this case or any related cases other than as set forth in the Status Report filed by
Plaintiffs on March 23, 2018. Greenberg joins the previously filed requests that the stay in this
case be lifted and the matter proceed.
                                                    Respectfully submitted,
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March 23, 2018


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